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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

POWERBAHN, LLC,                    )
                                   )
                Plaintiff,         )
                                   )
v.                                 ) Case No. 1:17-CV-02965-AT
                                   )
FOUNDATION FITNESS, LLC,           )
WAHOO FITNESS, LLC, AND            )
PATRICK WARNER,                    )
                                   )
                 Defendants.

         DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT
     OF ITS MOTION FOR SUMMARY JUDGMENT OF INVALIDITY
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I.         INTRODUCTION
           POWERbahn, LLC (“POWERbahn” or “Plaintiff”) claims that Wahoo

Fitness, LLC’s (“Wahoo”) KICKR bicycle trainers infringe U.S. Patent Nos.

7,066,865 (the “’865 patent”) and 7,862,476 (the “’476 patent”) (collectively, the

“Asserted Patents”).

           However, POWERbahn’s claims fail as the asserted claims of the ’865

patent and the ’476 patent are invalid under 35 U.S.C. § 102(b). Claims 16, 22,

and 24 of the ’865 patent are invalid as anticipated by both U.S. Patent No.

5,256,115 (“the ’115 patent”) and German Patent No. 41 18 082 (“DE ’082”).

Claim 28 of the ’476 patent is invalid as anticipated by U.S. Patent Publication No.

2004/0116253 (“the ’253 publication”), the ’115 patent, and DE ’082.

II.        BACKGROUND
      A.        The Asserted Patents
           1.     ’865 Patent, titled “Bipedal/Locomotion Training and
                  Performance Evaluation Device and Method”
           The ’865 patent relates to exercise devices for “bipedal locomotion,”

meaning moving on two legs in an upright position, e.g., walking or running. Ex.

B, ’865 patent, Abstract, 17:56-58. 1 The ’865 patent discloses several

embodiments, shown in Figs. 1A-1M, which all involve the user moving on two

legs in an upright position. None involve any form of exercise bike or bicycle



1 Exhibit  citations are to the Exhibits of the Declaration of Dr. Bergeron in Support
      of Defendants’ Motion for Summary Judgment of Invalidity.


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trainer. As the specification states “[t]he present invention is directed to a physical

training and performance evaluation method and apparatus,” where the “apparatus

includes a revolving belt on which a subject may perform bipedal locomotion, and

one or more harnesses for supporting the subject, and/or fixing the position of the

subject, and/or monitoring the forces exerted by the subject.” Ex. B, ’865 patent,

17:55-60.

       The “one or more harnesses,” secure the user at a fixed position and

measures the force applied by the user. Ex. B, ’865 patent, Abstract. This second

function of the harness—to provide feedback information of user applied forces—

is described as necessary for the simulation of “real-world or virtual-world

environments.” Ex. B, ’865 patent, 48:6-11. The specification states that the more

closely the user applied force is measured, “the more realistic is the simulation of

the apparatus to the circumstance being simulated.” Ex. B, ’865 patent, 48:56-59.

       The devices discussed in the patent simulate physical activity by calculating

a “virtual velocity” (a target velocity, update velocity, Vupdate, or Vset ) of the

treadmill belt of the device and comparing it to the actual measured velocity. To

calculate the “virtual velocity” all of the equations in the specification require at

least one user applied force as measured by a force sensor. Ex. B, ’865 patent,

Equations 3.1.1, 3.1.2, 3.2.1, 3.2.2, 3.6.1, 3.6.2, 3.7.1, 3.7.2; 32:17-23, 48:6-55.

Put another way, to measure “virtual velocity,” the patent requires the



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measurement of the force the user applies to the device. Adjusting the resistance

force on the treadmill belt controls the velocity so that the measured velocity

equals the “virtual velocity.”

      2.     ’476 Patent, titled “Exercise Device”
      The ’476 patent discloses an exercise bike. This subject matter was not

disclosed by the ’865 patent. The claims of the ’476 patent asserted by

POWERbahn are broader than the described embodiments and only recite features

already disclosed by the ’865 patent. Like the ’865 patent, the ’476 patent

addresses measuring human force inputs to use in the control system. The ’476

patent states: “forces applied to the pedals by a user define user input forces.” Ex.

C, ’746 patent, 2:8-20.

      The control system uses a measured variable which is determined by the

user’s application of an input force to the input member. The control system also

uses a virtual variable that it determines by applying an equation of motion of the

type that describes the acceleration of a mass under an influence of a force input by

a human for physical activity being simulated. Both the ’865 patent and the ’476

patent recite an equation of motion. And the ’476 patent describes the relationship

between the equations of motion as follows:

    As discussed in detail in U.S. Pat. No. 6,454,679 (previously incorporated
    herein by reference), a basic equation of motion can be expressed as:
      V(update)=V+[(F a −F d)−m 1 *g sin θ](t inc /m 1*)      (1.1)
    With further reference to FIG. 14, for a bicycle simulation, this equation


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       becomes:
       V(update)=V+[(F a −F d)−(m 1 +m 2)g sinθ−0.5 C 1 ρQV 2](t inc/(m 1 +m 2))
       (1.2)

Ex. C, ’476 patent, 18:1-10.

         The control system controls the resistance force on the user input member

such that it varies in a manner that simulates changes in force due to changes in

momentum according to the equation of motion. Through this force and velocity

based simulative ability, the ’476 patent states that one advantage provided by the

“control system according to the present invention [is that] it provides for

simulation of an actual physical activity in a way that eliminates or reduces the

need for flywheels or other devices that would otherwise be required to account for

the affects [sic] of momentum that occur during the actual physical activity being

simulated.” Ex. B, ‘476 patent, 6:67-7:5.

III.     LEGAL STANDARDS
   A.       Summary Judgment
         Summary judgment is proper where “the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). Where the defendant carries its burden of

“pointing out to the district court that there is an absence of evidence to support the

nonmoving party’s case,” the defendant is entitled to summary judgment. Celotex

Corp. v. Catrett, 477 U.S. 317, 325 (1986).

         A party opposing summary judgment “may not rest upon the mere allegation


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or denials of his pleading, but . . . must set forth specific facts showing that there

is a genuine issue for trial,” and “must present affirmative evidence in order to

defeat a properly supported motion for summary judgment.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 256–57 (1986). “[T]he nonmoving party must ‘do more

than simply show that there is some metaphysical doubt as to the material facts.’”

Matsushita Elec. Indus. Co., v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)).

   B.      Invalidity
        “A patent is invalid for anticipation if a single prior art reference discloses

each and every limitation of the claimed invention.” Schering Corp. v. Geneva

Pharm., 339 F.3d 1373, 1377 (Fed. Cir. 2003). A court gives due weight to a

patent’s presumed validity under 35 U.S.C. § 282, requiring an accused infringer to

prove invalidity by clear and convincing evidence. Perricone v. Medicis Pharm.

Corp., 432 F.3d 1368, 1372 (Fed. Cir. 2005).

IV.     ARGUMENT
   A.      Claims 16, 22, and 24 of the ’865 Patent Are Invalid as Anticipated
           under 35 U.S.C. § 102
        There was nothing novel about the “invention” of the exercise training

devices and methods of the ’865 patent. Each of the ’115 patent and DE ’082 are

prior art to the ’865 patent and describe each and every limitation of the asserted

claims. Statement of Uncontroverted Material Facts (“SOF”) ¶¶ 20-21, 74-76.

        Claim 16 of the ’865 patent recites:




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           16. An apparatus for simulating forces and movement of a
           human subject during a physical activity (“Preamble”),
           comprising:
           a base (“Element 1”);
           a movable member mounted to the base, the movable member
           defining a velocity and receiving an input force applied to the
           movable member by a human subject (“Element 2”);
           a force-generating device operably coupled to the movable
           member and applying a resistance force to the movable member
           (“Element 3”);
           a sensor configured to provide a signal corresponding to at least
           one of the velocity of the movable member and an input force
           applied to the movable member by a human subject (“Element
           4”); and
           a controller configured to control the resistance force applied to
           the movable member by the force-generating device based, at
           least in part, on a signal provided by the sensor and a haptic
           equation incorporating an equation of motion of a human
           subject performing the physical activity being simulated
           (“Element 5”).
SOF ¶ 3; Ex. B, ’865 Patent, at Claim 16.

      1.      The ’115 Patent Anticipates Claims 16, 22, and 24 of the ’865
              Patent
      Plaintiff’s expert, Dr. Lynch, admits that the ’115 patent discloses all

elements of the claims of the ‘865 patent except for “simulating a real life activity

like riding a bike.” Dr. Lynch testified that he did not believe that it is a

representation by a human for simulated physical activity and that the ’115 patent

failed to disclose a haptic equation as construed by the Court. SOF ¶¶ 60-61, Ex.

G, 3/11/20 Lynch Dep., 124:9-12; 140:13-22. However, Dr. Lynch also admits

that “simulating a real-life activity like riding a bike” is not actually an element of


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the claims, as written or as construed by the Court. SOF ¶ 59; Ex. G, 3/11/20

Lynch Dep., 122:3-13. In other words, Dr. Lynch’s opinion that the ’115 patent

does not anticipate the claims of the ’865 patent is based on a limitation not

included in the claims.

          a. Claim 16 of the ’865 Patent
            i. Preamble: “An apparatus for simulating forces and movement
               of a human subject during a physical activity”
      The ’115 patent teaches “an exercise apparatus . . . which electronically

provides an adjustable load torque to control the intensity of an exercise session.”

SOF ¶ 33; Ex. D, ’115 patent, 1:8-11; see also 4:39-40; see also SOF ¶ 36; Ex. D,

’115 patent, 4:42-43. A person of ordinary skill in the art would understand the

“exercise apparatus” of the ’115 patent to be the same as the “apparatus for

simulating…” that the ‘865 patent discloses. Accordingly, the ’115 patent

discloses the preamble of claim 16.2 Dr. Lynch agrees that the ’115 patent

discloses this limitation.

           ii. Element 1: “A base”
      The ’115 patent discloses a base, specifically, “a frame 12” that “can be

placed directly on the floor . . . or can have legs or feet. SOF ¶¶ 23, 37; Ex. D,

’115 patent, Figure 1 & 4:44-56. Accordingly, the ’115 patent discloses Element 1

of claim 16. Dr. Lynch agrees that the ’115 patent discloses this limitation.


2 The Court found that the preamble of claim 16 “is not a limitation and need not
   be construed.” Claim Construction Order, Doc. 154, p. 32.


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           iii. Element 2: “A moveable member mounted to a base the
                movable member defining a velocity and receiving an input
                force applied to the movable member by a human subject”
        Specifically, the ’115 patent discloses a set of pedals 24 connected to a gear

box 26 through a crank arm 23. SOF ¶ 38; Ex. D, ’115 patent, Fig. 1 & 5:3-14.

The pedals comprise “a means [for the user] to apply an input torque,” i.e., the user

applies an input torque (input rotational force) to the pedals. SOF ¶ 38; Ex. D,

’115 patent, 5:3-5; see also 2:3-6. The pedals define an input pedal speed

(velocity), which can be measured by “a tachometer generator, a digital

tachometer, or the like.” SOF ¶ 39; Ex. D, ’115 patent, 2:45-47; see also 5:2-14,

claims 1, 2, 11.

        The Court construed “defining a velocity” as “operating at a controlled

velocity.” SOF ¶ 4; Doc. 154, 32. The control system of the ’115 patent controls

the velocity of the pedals through the speed reference command. SOF ¶¶ 24-25,

40; Ex. D, ’115 patent, 8:45-48. Accordingly, the ’115 patent discloses Element 2

of claim 16. Dr. Lynch agrees that the ’115 patent discloses this limitation.

           iv. Element 3: “A force-generating device operably coupled to the
               movable member and applying a resistance force to the
               movable member”
        Specifically, the ’115 patent discloses a motor 18 that is operably coupled to

the pedals 24 and applies a resistance force to the pedals 24.3 SOF ¶ 41; Ex. D,


3 The ’865 patent describes a motor as one of the mechanisms that can provide a
resistance force to the treadmill belt. Ex. B, ’865 patent, 28: 12-18 (“a bi-


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’115 patent, Fig. 1; 4:48-56; 5:3-14. The ’115 patent teaches that the motor “can

include a DC motor, generator, alternator, hysteresis motor, eddy current devices,

and the like.” SOF ¶ 42; Ex. D, ’115 patent, 2:6-9. The motor creates a “load

torque” or “motor load torque,” which “force[s] the pedal speed to equal S” a

calculated value—the motor applies a resistance force to the pedals to control the

velocity of the pedals to equal the speed reference signal S. SOF ¶ 42; Ex. D, ’115

patent, 2:41-43; 8:15-54. Accordingly, the ’115 patent discloses Element 3 of

claim 16. Dr. Lynch agrees that the ’115 patent discloses this limitation.

           v. Element 4: “a sensor configured to provide a signal
              corresponding to at least one of the velocity of the movable
              member and an input force applied to the movable member by
              a human subject”
      The ’115 patent discloses measuring both the pedal input speed and the user

applied rotational force, which it calls the input torque, with sensors. The ’115

patent teaches directly measuring pedal input speed with “a tachometer generator,

a digital tachometer, or the like.” SOF ¶¶ 39, 43; Ex. D, ’115 patent, 2:45-47; see

also claim 11. The ’115 patent also discloses “a means to measure the input torque

at the pedals.” SOF ¶¶ 44, 48; Ex. D, ’115 patent, 6:20-37; see also, Fig. 5,

element 82. Accordingly, the ’115 patent discloses Element 4 of claim 16. Dr.

Lynch agrees that the ’115 patent discloses this limitation.


directional motor 171 is substituted for the motor 170 and brake 172 of the
embodiment of FIG. 4A. The bi-directional drive motor 171 can apply a force to
the belt 110.”)


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          vi. Element 5: “a controller configured to control the resistance
              force applied to the movable member by the force-generating
              device based, at least in part, on a signal provided by the sensor
              and a haptic equation incorporating an equation of motion of a
              human subject performing the physical activity being
              simulated”
      The ’115 patent discloses a computer that executes a “speed servo” control

means that compares the input pedal speed, as measured by the sensor, to a “speed

reference” command, which is calculated by the following equation:

          S=∫(Tp -T1)/J
          where
          S is the speed reference signal;
          Tp is an input torque signal;
          T1 is a preset load torque signal;
          J is a selected value which corresponds to an inertia.

      The “speed servo” control means then “compares S to the input speed and

adjusts the motor load torque [the resistance force] to force the pedal speed to

equal S.” SOF ¶¶ 45-46; Ex. D, ’115 patent, 2:14-43; see also 6:21-25 (“The

motor current is adjusted by the speed servo which can be located on circuit board

10, to maintain a substantially constant pedal speed equal to the commanded

‘speed reference’.”). Thus, the control means adjusts the resistance force applied

by the motor based, at least in part, on the input pedal speed as measured by a

sensor.

      The “speed reference” equation, moreover, explicitly has a term accounting

for the input pedal torque, Tp, which is a rotational force applied by the user. The

’115 patent discloses “a means to measure the input torque at the pedals,” i.e., a


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sensor to measure the rotational force to the pedals. SOF ¶¶ 44, 48; Ex. D, ’115

patent, 6:20-37. Thus, the “speed reference” equation teaches a corrected velocity

value based on the rotational force applied by the user as measured by a force

sensor. Dr. Lynch agreed that the ’115 patent discloses a means to measure the

input torque at the pedals and a means to measure the input speed at the pedals.

SOF ¶¶ 63-64, 71; Ex. G, 3/11/20 Lynch Dep., 143:3-5; 147:1-5; 169:15-18. Dr.

Lynch further testified that the controller controls the resistance to the pedals in

response to input from the human and that the motor applies a resistance to the

pedals to control the velocity of the pedals and tries to balance the human’s input

torque. SOF ¶¶ 64-65; Ex. G, 3/11/20 Lynch Dep., 147:6-14; 153:25-154:9.

      Finally, the “speed reference” equation is an equation of motion of a human

subject performing the physical activity being simulated—or, as the Court

construed the term, “a mathematical representation of movement by a human for a

simulated physical activity.” Dr. Lynch agreed that the ’115 patent discloses the

integral of F = MA, which is an equation of motion of the type that describes the

acceleration of a mass under an influence of a force and that depends in part on

feedback information of forces applied by a human subject (or the input pedal

torque). SOF ¶¶ 57-58, 62, 66, 70, 72-73; Ex. G, 3/11/20 Lynch Dep., 154:16-25;

166:7-20; 172:16-173:1; 173:21-25; see also 109:9-15; 110:18-21; 141:25-142:4.

As such, the ’115 patent discloses Element 5 of claim 16.



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      Moreover, Dr. Bergeron finds the ’115 patent discloses each and every

limitation of claim 16. Bergeron Decl. ¶¶ 63-64, 77; see also ¶¶ 65-76.

Accordingly, the ’115 patent discloses every limitation of claim 16 of the ’865

patent and, therefore, anticipates claim 16.

         b. Claim 22 of the ’865 Patent
      Claim 22 of the ’865 patent depends from claim 16. Claim 22 recites:

         22. The apparatus of claim 16, wherein:
         the force-generating device comprises a brake.

      The previous discussion of the ’115 patent and its disclosure of Elements 3

and 5, is incorporated here in its entirety. The ’115 patent discloses an eddy

current device as a means of applying a resistance force. SOF ¶ 28, 42 , Ex. D,

’115 patent, 2:6-9 (“The load torque means to provide the load torque can include a

DC motor, generator, alternator, hysteresis motor, eddy current devices, and the

like, with a DC motor preferred.”) An eddy current device is a commonly used

type of magnetic brake. Bergeron Decl., ¶¶ 49, 58. Thus, the ‘115 patent discloses

a brake. Moreover, Dr. Bergeron finds the ’115 patent discloses each and every

limitation of claim 22. Bergeron Decl., ¶¶ 78-79, 85; see also ¶¶ 80-84.

Accordingly, the ’115 patent discloses the additional element of claim 22 and,

therefore, anticipates claim 22 of the ’865 patent.

         c. Claim 24 of the ’865 Patent
      Claim 24 of the ’865 patent depends from claim 16. Claim 24 recites:



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         24. The apparatus of claim 16, wherein:
         the controller calculates at least one of a target input force and a
         target velocity utilizing a haptic equation of motion and
         controls the force-generating device based on at least one of the
         target input force and a target velocity.

      The previous discussion of the ’115 patent and its disclosure of Elements 3

and 5, is incorporated here in its entirety. As discussed above, the ’115 patent

discloses a computer that executes a “speed servo” control means that compares

the input pedal speed, as measured by the sensor, to a “speed reference” command.

The “speed servo” control means then “compares S to the input speed and adjusts

the motor load torque [the resistance force] to force the pedal speed to equal S.”

SOF ¶ 46; Ex. D, ’115 patent, 2:14-43; see also Fig. 2; 6:21-25. Thus, the control

means adjusts the resistance force applied by the motor based, at least in part, on

the input pedal speed as measured by a sensor. Dr. Lynch testified that the ’115

patent discloses all elements of claim 24 except for a haptic equation. SOF ¶ 68;

Ex. G, 3/11/20 Lynch Dep., 161:2-19. But again, Dr. Lynch agreed that the ’115

patent discloses the integral of F = MA, which is an equation of motion of the type

that describes the acceleration of a mass under an influence of a force and that

depends in part on feedback information of forces applied by a human subject (or

the input pedal torque). SOF ¶¶ 57-58, 62, 66, 70, 72-73; Ex. G, 3/11/20 Lynch

Dep., 154:16-25; 166:7-20; 172:16-173:1; 173:21-25; see also 109:9-15; 110-18-

21; 141:25-142:4.



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         Moreover, Dr. Bergeron finds the ’115 patent discloses each and every

limitation of claim 24. Bergeron Decl., ¶¶ 86-87, 93; see also ¶¶ 88-92.

Accordingly, the ’115 patent discloses every limitation of claim 24 and, therefore,

anticipates claim 24 of the ’865 patent.

         2.     DE ’082 Anticipates Claims 16, 22, and 24 of the ’865 Patent
              a. Claim 16 of the ’865 Patent
         Dr. Lynch disagreed that DE ’082 discloses a haptic equation incorporating

an equation of motion of a human subject performing the physical activity being

simulated. SOF ¶¶ 115, 118; Ex. G, 3/11/20 Lynch Dep., 208:23-209:2; 220:15-

221:9.

         Again, Dr. Lynch’s opinion is based on a limitation not found in the claim

language or the Court’s construction. Dr. Lynch testified that the “’865 patent is

about [a] real world bike ride,” but the ’865 patent does not specifically describe an

equation of motion of a human subject performing the physical activity being

simulated for a bicycle. SOF ¶¶ 119-120; Ex. G, 3/11/20 Lynch Dep., 221:7-13;

222:21-25. However, Dr. Lynch agreed that an ergometer can simulate a real

bicycle ride “if it can provide the right inertia, that is a portion of a real bike ride.”

SOF ¶¶ 121-122; Ex. G, 3/11/20 Lynch Dep., 224:2-7; 225:5-19.

               i. Preamble: “An apparatus for simulating forces and movement
                  of a human subject during a physical activity”
         DE ’082 is titled a “Method and Assembly for Generating Dynamic

Resistance to Motion on an Ergometer.” DE ’082 is directed to an ergometer and a


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method and an assembly for simulating a flywheel without the need for any actual

flywheel. DE ’082 simulates the dynamic inertia effects of a flywheel, while

replacing the flywheel with the following components: a force sensor, a rotational

speed sensor, a computer, a braking force intensifier and a brake. SOF ¶ 79; Ex. E,

DE ’082, col. 2. The exercise apparatus of DE ’082 is not limited to exercise

bicycles. DE ’082 discloses a continuously adjustable ergometer that does not use

a transmission gear, freewheel, or flywheel. SOF ¶ 87; Ex. E, DE ’082, col. 1 and

2. Accordingly, the exercise apparatus of DE ’082 meets the preamble of claim 16.

Dr. Lynch agrees that DE ’082 discloses the preamble.

              ii. Element 1: “A base”
      DE ’082 discloses a base, specifically, a base supporting pedal shaft 1 and a

brake disk 4. The hatched area under pedal shaft in Figure 1 illustrates how the

base connects to the ergometer. DE ’082 teaches “an assembly for generating

dynamic resistances to motion on an ergometer,” which refers to assembling the

ergometer on a base. SOF ¶ 88; Ex. E, DE ’082, col. 1. Accordingly, DE ’082

discloses Element 1 of claim 16. Dr. Lynch agrees that DE ’082 discloses this

limitation.

          iii. Element 2: “A moveable member mounted to a base the
               movable member defining a velocity and receiving an input
               force applied to the movable member by a human subject”
      DE ’082 discloses a movable member, pedal shaft 1, mounted to the base.

Figure 1 shows pedal shaft 1 connected to a brake disk 4, pedal arms 2 and pedals


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3. The pedal shaft 1 and brake disk 2 define a velocity and receive an input force

from the user applied to the pedals 3. SOF ¶ 89; Ex. E, DE ’082, col. 2.

      The court construed “defining a velocity” as “operating at a controlled

velocity.” SOF ¶ 4; Doc. 154, 32. The control system of the DE ’082 patent

controls the velocity of the pedals through controlling the rotational speed of the

pedal shaft to correspond to the internal rotational speed of the simulated flywheel.

SOF ¶ 90; Ex. E, DE ’082, col. 2. Figure 2 discloses how “[t]he rotational speed of

the pedal shaft np (dashed line) decreases, in proportion to the decrease in activity

of the person exercising, as far as to zero.” SOF ¶ 91; Ex. E, DE ’082, col. 3.

      Dr. Lynch testified that DE ’082 includes a force sensor, and that the intent

of DE ’082 is that the force sensor is able to detect when the user stops pedaling.

SOF ¶¶ 116-117; Ex. G, 3/11/20 Lynch Dep., 210:11-211:25; 213:7-24.

Accordingly, DE ’082 discloses Element 3 of claim 16.

          iv. Element 3: “A force-generating device operably coupled to the
              movable member and applying a resistance force to the movable
              member”
      Figure 1 shows a force-generating device, brake 5, operably coupled to the

movable member, pedal shaft 1, through the permanently attached brake disk 4.

The brake 5 applies a resistance force to the movable member. SOF ¶ 92; Ex. E,

DE ’082, col. 2. Accordingly, DE ’082 discloses Element 3 of claim 16. Dr.

Lynch agrees that DE ’082 discloses this limitation.




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           v. Element 4: “a sensor configured to provide a signal
              corresponding to at least one of the velocity of the movable
              member and an input force applied to the movable member by a
              human subject”
      DE ’082 discloses both a force sensor and a speed sensor. First, DE ’082

discloses a force sensor 6. SOF ¶ 93; Ex. E, DE ’082, Fig. 1 & col. 2. Second, DE

’082 discloses a rotational speed sensor 7. SOF ¶ 94; Ex. E, DE ’082, Fig. 1 &

col. 2. The signals from the force and speed sensors are fed to a computer 8. SOF

¶ 95; Ex. E, DE ’082, col. 2. Dr. Lynch testified that DE ’082 discloses a force

sensor that is able to detect when the user stops pedaling. SOF ¶¶ 116-117; Ex. G,

3/11/20 Lynch Dep., 210:5-211:25; 213:18-24. Accordingly, DE ’082 discloses

Element 4 of claim 16.

          vi. Element 5: “a controller configured to control the resistance
              force applied to the movable member by the force-generating
              device based, at least in part, on a signal provided by the sensor
              and a haptic equation incorporating an equation of motion of a
              human subject performing the physical activity being
              simulated”
      DE ’082 discloses a controller (computer 8) connected to the force

generating device (brake 5) to control the brake, with input (signals) from a force

sensor 6 and speed sensor 7. DE ’082 discloses a force generating device, a brake

5 that applies a braking force. SOF ¶ 96; Ex. E, DE ’082, cols. 2-3. The braking

force is controlled based, at least in part, on both the signal from the force sensor

and the signal from the speed sensor. SOF ¶ 97; Ex. E, DE ’082, col. 3 (“The

moved, moment-loaded brake disk 4, the force and rotational speed sensors 6 and


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7, the computer 8 with input 9 and the brake 5 with braking force intensifier 10

form a fast acting control loop.”) The force sensor, which is part of the “control

and regulating device,” is used to control the brake resistance. SOF ¶ 98; Ex. E, DE

’082, col. 2. The “rotational speed ns of the simulated damped flywheel” is

calculated based, in part, on the user applied force measured by the force sensor,

which is illustrated in Figure 2, where section II of the figure corresponds to the

user being “inactive,” or not applying any force to the pedals. SOF ¶ 99; Ex. E,

DE ’082, col. 2 and Fig. 2.

      As Figure 2 shows, the calculated rotational speed of the simulated flywheel,

or ns, decreases as a function of the user applied force—where the user applied

force decreases, so too does the calculated rotational speed of the simulated

flywheel. SOF ¶ 100; Ex. E, DE ’082, col. 2 and Fig. 2. This is because the

rotational speed of the simulated flywheel, or ns, is calculated based in part on the

user applied force.

      With respect to the speed sensor, DE ’082 teaches that “the brake (5) does

not respond again in accordance with the damped flywheel to be simulated, until

the rotational speed of the pedal shaft (1) corresponds to the internal rotational

speed of the flywheel simulated in the computer.” SOF ¶ 101; Ex. E, DE ’082,

claim 1. DE ’082 adjusts the resistance of the brake so that the measured speed is

equal to the calculated rotational speed of the simulated flywheel. Dr. Lynch



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testified that DE ’082 discloses that the brake force is in response to the human

input speed. SOF ¶ 123; Ex. G, 3/11/20 Lynch Dep., 241:2-9.

      DE ’082 discloses calculating a corrected velocity value, which it calls the

rotational speed ns of the simulated damped flywheel over time. SOF ¶ 113; Ex. E,

DE ’082, col. 3. This corrected velocity value is based, at least in part, on the user

applied force as measured by a force sensor 6. Id. As described above, this is

shown in section II of Figure 2, which illustrates what happens to the calculated

velocity value ns when the user is inactive, or not applying any force to the pedals.

In that situation, the calculated velocity value ns decreases based on, at least in

part, the decreased user applied force. Id. The Court construed “haptic equation”

as “an equation that depends, in part, on feedback information of forces applied by

a human subject.” SOF ¶ 6; Doc. 154, 32. Although, Dr. Lynch disagrees that DE

’082 discloses a haptic equation, his opinion is based on a limitation not found in

the claim. DE ’082 teaches this element as construed. As such, DE ’082 discloses

Element 5 of claim 16.

      Moreover, Dr. Bergeron finds DE ’082 discloses each and every limitation

of claim 16. Bergeron Decl. ¶¶ 102-103, 116; see also ¶¶ 104-115. Accordingly,

DE ’082 discloses every limitation of claim 16 and, therefore, anticipates claim 16

of the ’865 patent.




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         b. Claim 22 of the ’865 Patent
      Claim 22 of the ’865 patent depends from claim 16 and further requires that

the force-generating device comprises a brake. The previous discussion of DE

’082 patent and its disclosure of Elements 3 and 5, is incorporated here in its

entirety. Specifically, DE ’082 discloses Figure 1, which shows a force-generating

device, brake 5, operably coupled to the movable member, pedal shaft 1, through

the permanently attached brake disk 4. The brake 5 thereby applies a resistance

force to the movable member. SOF ¶ 92; Ex. E, DE ’082, col. 2. Moreover, Dr.

Bergeron finds DE ’082 discloses each and every limitation of claim 22. Bergeron

Decl. ¶¶ 117-118, 121; see also ¶¶ 119-120. Accordingly, DE ’082 discloses claim

22. Dr. Lynch agrees that DE ’082 discloses this limitation.

         c. Claim 24 of the ‘865 Patent
      Claim 24 depends from claim 16 and further requires

         the controller calculates at least one of a target input force and a
         target velocity utilizing a haptic equation of motion and
         controls the force-generating device based on at least one of the
         target input force and a target velocity.
The previous discussion of DE ’082 and its disclosure of Elements 3 and 5, is

incorporated here in its entirety. As discussed above in connection with Element 5,

DE ’082 discloses this additional limitation. Moreover, Dr. Bergeron finds DE

’082 discloses each and every limitation of claim 24. Bergeron Decl. ¶¶ 122-123,

127; see also ¶¶ 124-126. Accordingly, DE ’082 discloses claim 24.




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   B.      Claim 28 of the ’476 Patent Is Invalid as Anticipated under
           35 U.S.C. § 102
        There is nothing novel about the “invention” of the control system and

method for exercise equipment of the ’476 patent. Each of the ’253 publication,

the ’115 patent, and DE ’082 are prior art to the ’476 patent and describe each and

every limitation of claim 28. SOF ¶¶ 20-21, 74-75, 124-125.

        Claim 28 of the ’476 patent recites:

           28. An exercise device for simulating a human physical activity
           of the type involving an application of a human input force to
           an object resulting in acceleration of the object in a manner that
           is capable of being described by an equation of motion of the
           type that describes the acceleration of a mass under an influence
           of a force generated by a human in performing the activity, the
           exercise device (“Preamble”) comprising:
           a structural support (“Element 1”);
           a user input member movably connected to the structural
           support for movement relative to the structural support to define
           a measured variable upon application of an input force to the
           input member by a user (“Element 2”), and wherein the user
           input member defines a variable resistance force tending to
           resist movement due to input force applied by a user (“Element
           3”);
           a control system configured to utilize first and second values of
           the measured variable that are both measured while a user is
           applying an input force to the input member (“Element 4”),
           and wherein the first value is measured before the second value,
           and wherein the control system is configured to determine a
           difference between the first value of the measured variable, and
           a first value of a virtual variable as a control input to control the
           resistance force on the user input member (“Element 5”),
           wherein the control system is configured to determine the
           virtual variable, at least in part, utilizing an equation of motion
           of the type that describes the acceleration of a mass under an


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           influence of a force input by a human for the human physical
           activity being simulated (“Element 6”), and wherein the
           control system is configured to utilize the first value of the
           measured variable as an input variable in the equation of motion
           such that the resistance force varies in a manner that simulates
           changes in force due to changes in momentum according to the
           equation of motion (“Element 7”).

SOF ¶ 12; Ex. C, ’476 patent, Claim 28.

      1.      The ’253 Publication Anticipates Claim 28 of the’476 Patent
      The ’253 publication shares the same specification as the ’865 patent and is

the publication of the patent application that issues as the ’865 patent. SOF ¶ 126;

Ex. F, ’253 publication. The disclosure of the ’253 publication—which is the same

disclosure as the ’865 patent—anticipates every claim of the ’476 patent. The ’253

publication expressly discloses each element of claim 28.

      POWERbahn’s expert, Dr. Lynch, does not challenge that the ’253

application discloses all elements of claim 28, except for “the control system is

configured to determine a difference between the first value of the measured

variable, and a first value of a virtual variable as a control input . . . .” Dr. Lynch

asserts that the claim phrase “determine a difference” requires subtraction. SOF ¶¶

147, 149-150; Ex. H, 3/12/20 Lynch Dep., 24:11-25:16; 32:8-14; see also 36:1-13.

Again, Dr. Lynch reads a limitation into the claims, and thus contends that the

“greater than/less than comparison” between the measured and virtual variables in

the ‘253 application does not constitute “determining a difference.” But Dr. Lynch

admitted that nothing in the claim, as written or construed by the Court, requires


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“subtraction” in order to determine a difference between the two values. SOF ¶

148; Ex. H, 3/12/20 Lynch Dep., 29:2-21. He further explained that his

understanding that the term “determining a difference” requires subtraction was

not disclosed in the specification or the file history but was from his “engineering

experience.” SOF ¶¶ 144-146; Ex. G, 3/11/20 Lynch Dep., 232:16-21; 233:16-

234:4, 234:14-235:12. Dr. Lynch’s attempt to read a non-existent “subtraction”

limitation into claim 28 must be rejected.

          a. Preamble: “An exercise device for simulating a human physical
             activity of the type involving an application of a human input
             force to an object resulting in acceleration of the object in a
             manner that is capable of being described by an equation of
             motion of the type that describes the acceleration of a mass under
             an influence of a force generated by a human in performing the
             activity, the exercise device”
      The ’253 publication discloses numerous types of physical activity involving

user-applied force and “whether the velocity is maintained at a constant value or is

non-constant, the direction of bipedal locomotion, the type of harnessing used, the

applicable equation of motion, the input variables, the calculated variables, the

measured data, and the calculated data for each mode of operation.” SOF ¶ 128;

Ex. F, ’253 publication, Equations 3.1.1, 3.1.2, 3.2.1, 3.2.2, 3.6.1, 3.6.2, 3.7.1,

3.7.2; ¶¶ 198-99, 203, 267-69, Figs. 2A and 2B. Accordingly, the exercise

apparatus of the ’253 publication meets the preamble of claim 28. Dr. Lynch

agrees that the ’253 publication discloses the preamble.




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          b. Element 1: “A structural support”
      Claim 21 of the ’253 publication discloses a base. SOF ¶ 129; Ex. F, ’253

publication, claim 21; see also ¶¶ 145-46. Accordingly, the ’253 publication

discloses Element 1 of claim 28. Dr. Lynch agrees that the ’253 publication

discloses this limitation.

          c. Element 2: “A user input member movably connected to the
             structural support for movement relative to the structural
             support to define a measured variable upon application of an
             input force to the input member by a user”
      Claim 21 of the ’253 publication recites a “movable member mounted to the

base, the movable member defining a velocity and receiving a force applied to the

movable member by a human subject.” SOF ¶ 130; Ex. F, ’253 publication, claim

21, see also ¶ 105. Accordingly, the ’253 publication discloses Element 2 of claim

28. Dr. Lynch agrees that the ’253 publication discloses this limitation.

          d. Element 3: “the user input member defines a variable resistance
             force tending to resist movement due to input force applied by a
             user”
      The ’253 publication discloses a motor or brake that is used to resist the

user’s movement. The “velocity of the belt may be controlled by a motor and

brake system, where the motor may be uni-directional or bi-directional” and a

“digital processor may be used to control the motor and/or brake as a function of

the applied forces to simulate real-world or virtual world environment.” SOF ¶

131; Ex. F, ’253 publication, Abstract. The ‘253 publication further discloses a

movable engagement surface that a user can move by applying force. SOF ¶ 130;


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Ex. F, ’253 publication, ¶ 105 and claim 21. The ’253 publication also describes

how to control the resistance supplied by the motor or brake for modes of

operation which simulate real-world or virtual-world scenarios. SOF ¶ 132; Ex. F,

’253 publication, ¶¶ 273-278. Accordingly, the ‘253 publication discloses Element

3. Dr. Lynch agrees that the ’253 publication discloses this limitation.

         e. Element 4: “a control system configured to utilize first and second
            values of the measured variable that are both measured while a
            user is applying an input force to the input member”
      The ’253 publication discloses “constant[ly]” measuring the velocity, which

results in taking at least a first and second measurement of the velocity. SOF ¶

133; Ex. F, ’253 publication, ¶ 270, 276. Specifically, the ’253 publication

discloses comparing the measured velocity to the calculated “virtual” velocity at

least 50 times for each update of the monitored force, and that the force should be

monitored every ten-thousandth of a second. SOF ¶ 134; Ex. F, ’253 publication

¶ 270; see also Fig. 5C. Accordingly, the ‘253 publication discloses Element 4 of

claim 28. Dr. Lynch agrees that the ’253 publication discloses this limitation.

         f. Element 5: “the first value is measured before the second value,
            and wherein the control system is configured to determine a
            difference between the first value of the measured variable, and a
            first value of a virtual variable as a control input to control the
            resistance force on the user input member”
      The ’253 publication teaches measuring the velocity up to 50 times every

ten-thousandth of a second. SOF ¶ 135; Ex. F, ’253 publication, ¶ 267. In that

frequent measuring of velocity, one velocity will necessary be measured before a


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second. The target velocity Vset, or “virtual” velocity, is a virtual variable that is a

calculated variable based, in part, on the user applied force. SOF ¶ 136; Ex. F,

’253 publication, ¶ 268 (“the force value F is new and so a new target velocity

V(update) is calculated using the appropriate haptic equation”). The first measured

velocity is compared to a calculated “virtual” velocity. SOF ¶ 137; Ex. F, ’253

publication, ¶ 272 (“The process begins with the reception of the target velocity

Vset [or “virtual” velocity] from the CPU and the reception of the actual velocity V

from the velocity sensor.”). The resistance supplied by the brake or motor is

controlled based on the comparison of the measured velocity to the calculated

target velocity Vset or “virtual” velocity. If the target velocity Vset is greater than

the velocity V, then the velocity V must be increased, and “the resistance applied

by the brake to the belt is reduced to allow the velocity V to increase.” SOF ¶ 138;

Ex. F, ’253 publication, ¶ 273 (internal citations omitted). If the target velocity

Vset is less than the actual velocity V, then the velocity V must be decreased, and

“the power to the brake is increased so that the brake applies more friction and

velocity V of the belt is reduced.” SOF ¶ 139; Ex. F, ’253 publication, ¶ 274

(internal citations omitted). In this manner, the control system disclosed by the

’253 publication is configured to determine a difference between the first value of

the measured variable—i.e., actual velocity V, and a first value of a virtual

variable—i.e., target velocity Vset—as a control input to control the resistance force



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on the user input member.

          The ’476 patent acknowledges that V(update) for a bicycle simulation is

based on the V(update) equation disclosed in the ’253 publication. The ’476 patent

states:

    As discussed in detail in U.S. Pat. No. 6,454,6794 (previously incorporated
    herein by reference), a basic equation of motion can be expressed as:
       V(update)=V+[(F a −F d)−m 1 *g sinθ](t inc /m 1*)      (1.1)
    With further reference to FIG. 14, for a bicycle simulation, this equation
    becomes:
    V(update)=V+[(F a −F d)−(m 1 +m 2)g sinθ−0.5 C 1 ρQV 2](t inc/(m 1 +m 2))
    (1.2).

SOF ¶ 140; Ex. C, ’476 patent, 18:1-10.5

          Accordingly, the ‘253 publication discloses Element 5 of claim 28.

             g. Element 6: “the control system is configured to determine the
                virtual variable, at least in part, utilizing an equation of motion of
                the type that describes the acceleration of a mass under an
                influence of a force input by a human for the human physical
                activity being simulated”
          Figs. 2A and 2B disclose nine modes of operation, each with its own

disclosed equation of motion, and all but one utilize the acceleration of the user.

SOF ¶ 141; Ex. F, ’253 publication, Figs. 2A & 2B (columns I, II, IV-IX).

Accordingly, the ‘253 publication discloses Element 6 of claim 28. Dr. Lynch


4 The’679 patent has the same specification as the ’253 publication.
5 Theactual claims of the ’476 patent are not limited to any bicycle specific
   equations, nor were they limited by the Court’s claim construction, and
   POWERbahn has not proffered a construction to a specific bicycle simulation
   equation such as the V(update) equation 1.2.


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agrees that the ’253 publication discloses this limitation.

            h. Element 7: “the control system is configured to utilize the first
               value of the measured variable as an input variable in the
               equation of motion such that the resistance force varies in a
               manner that simulates changes in force due to changes in
               momentum according to the equation of motion”
       The ’253 publication teaches varying the resistance force based on the

comparison of the calculated virtual velocity to the actual measured velocity. If

the virtual velocity, or target velocity Vset , is greater than the velocity V, then the

velocity V must be increased, and “the resistance applied by the brake to the belt is

reduced to allow the velocity V to increase.” SOF ¶ 142; Ex. F, ’253 publication,

¶ 273 (internal citations omitted). If the virtual, or target velocity Vset , is less than

the actual velocity V, then the velocity V must be decreased, and “the power to the

brake is increased so that the brake applies more friction and velocity V of the

belt is reduced.” SOF ¶ 143; Ex. F, ’253 publication, ¶ 274 (internal citations

omitted).

       And Dr. Lynch agreed that the ’253 publication discloses equations of

motion that describe the acceleration of a mass under an influence of force

generated by a human in performing a physical activity. SOF ¶¶ 151-154; Ex. H,

3/12/20 Lynch Dep., 41:1-23; 48:3-9; see also 53:5-16; 54:3-55:22. Thus, the ‘253

publication discloses Element 7 of claim 28.

       Moreover, Dr. Bergeron finds the ’253 publication discloses each and every




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limitation of claim 28. Bergeron Decl. ¶¶ 130-131, 143; see also ¶¶ 132-142.

Accordingly, the ’253 publication discloses every limitation of claim 28 and,

therefore, anticipates claim 28 of the ’476 patent.

      2.      ’115 Patent Anticipates Claim 28 of the ‘476 Patent
      Here again, Dr. Lynch’s opinion is based on the ’115 patent’s failure to

disclose “simulating a real-life activity like riding a bike.” A limitation that Dr.

Lynch has admitted is not included in the claim or the Court’s construction.

           a. Preamble: “An exercise device for simulating a human physical
              activity of the type involving an application of a human input
              force to an object resulting in acceleration of the object in a
              manner that is capable of being described by an equation of
              motion of the type that describes the acceleration of a mass under
              an influence of a force generated by a human in performing the
              activity, the exercise device”
      The ’115 patent teaches “an exercise apparatus … which electronically

provides an adjustable load torque to control the intensity of an exercise session.”

’115 patent, 1:8-11; see also 4:39-40. The exercise apparatus of the ’115 patent

uses an equation of motion, the “speed reference” equation, to calculate a velocity

that simulates the speed of a flywheel based on the input torque, or the force

applied by the user, as measured by a force sensor. SOF ¶ 34; Ex. D, ’115 patent,

2:14-43; 6:21-25; 8:62-65. The ’476 patent states that “[i]t will be apparent that a

stationary bike 1 according to the present invention does not necessarily need a

flywheel or other momentum storage device to account for variations in rider input

force or the like.” SOF ¶ 17; Ex. C, ’476 patent, 6: 62-67. Likewise, the equation


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of motion from the ’115 patent provides an exercise bike that does not require an

actual flywheel. SOF ¶ 35; Ex. D, ’115 patent, 3:28. The “speed reference”

equation “electronically simulates the inertia formally provided by a large

flywheel,” and a user applying rotational force to the pedals of a stationary bike in

order to spin a flywheel is a physical activity. SOF ¶ 49; Ex. D, ’115 patent, 4:30-

32. Accordingly, the exercise apparatus of the ’115 patent meets the preamble of

claim 28. Dr. Lynch agrees that the ’115 patent discloses the preamble.

          b. Element 1: “A structural support”
      The ’115 patent discloses a structural support, specifically, a frame 12. SOF

¶ 37; Ex. D, ’115 patent, Figure 1, 4:44-56. Accordingly, the ’115 patent discloses

Element 1 of claim 28. Dr. Lynch agrees that the ’115 patent discloses this

limitation.

          c. Element 2: “A user input member movably connected to the
             structural support for movement relative to the structural
             support to define a measured variable upon application of an
             input force to the input member by a user”
      Specifically, the ’115 patent discloses a set of pedals 24, which are

connected to a gear box 26 through a crank arm 23, which are supported on the

frame. SOF ¶ 38; Ex. D, ’115 patent, Fig. 1 & 5:3-14. The pedals comprise “a

means [for the user] to apply an input torque,” i.e., the user applies an input torque

(a force) to the pedals. SOF ¶ 38; Ex. D, ’115 patent, 5:3-5; see also 2:3-6. The

pedals define an input pedal speed, which can be measured by “a tachometer



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generator, a digital tachometer, or the like” SOF ¶ 39; Ex. D, ’115 patent, 2:45-47;

see also 5:2-14 & claims 1, 2, & 11. Accordingly, the ’115 patent discloses

Element 2 of claim 28. Dr. Lynch agrees that the ’115 patent discloses this

limitation.

          d. Element 3: “the user input member defines a variable resistance
             force tending to resist movement due to input force applied by a
             user”
      Specifically, the ’115 patent discloses a motor 18 that is operably coupled to

the pedals 24 and that applies a resistance force to the pedals 24. SOF ¶ 41; Ex. D,

’115 patent, Fig. 1; 4:48-56 & 5:3-14. The ’115 patent teaches that the motor “can

include a DC motor, generator, alternator, hysteresis motor, eddy current devices,

and the like.” SOF ¶ 42; Ex. D, ’115 patent, 2:6-9. The motor creates a “load

torque” or “motor load torque,” which “force[s] the pedal speed to equal” a

calculated value, i.e., the motor applies a resistance force to the pedals to equal the

speed reference signal S. SOF ¶ 42; Ex. D, ’115 patent, 2:41-43. Accordingly, the

’115 patent discloses Element 3 of claim 28. Dr. Lynch agrees that the ’115 patent

discloses this limitation.

          e. Element 4: “a control system configured to utilize first and second
             values of the measured variable that are both measured while a
             user is applying an input force to the input member”
      The ’115 patent measures the input speed at frequent intervals, which results

in measuring a first and second input speed as the user is applying force. SOF ¶

52; Ex. D, ’115 patent, 2:21-57. Accordingly, the ‘115 patent discloses Element 4


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of claim 28. Dr. Lynch agrees that the ’115 patent discloses this limitation.

         f. Element 5: “the first value is measured before the second value,
            and wherein the control system is configured to determine a
            difference between the first value of the measured variable, and a
            first value of a virtual variable as a control input to control the
            resistance force on the user input member”
      The ’115 patent necessarily measures a first input speed before measuring it

a second time. The ’115 patent compares the input speed (the pedal rate) to the

calculated “speed reference” signal (the virtual velocity). SOF ¶ 53; Ex. D, ’115

patent, Abstract; claim 1; 2:14-20, & 6:22-23. The ’115 patent discloses adjusting

the resistance applied by the motor or brake to force the input speed to equal the

calculated “speed reference” signal. SOF ¶ 54; Ex. D, ’115 patent, Abstract; claim

1; 2:14-20, & 6:22-23. Accordingly, the ‘115 patent discloses Element 5 of claim

28.

         g. Element 6: “the control system is configured to determine the
            virtual variable, at least in part, utilizing an equation of motion of
            the type that describes the acceleration of a mass under an
            influence of a force input by a human for the human physical
            activity being simulated”
      As construed, the ’115 publication discloses “a mathematical representation

of the acceleration of a mass under the influence of a force for a simulated physical

activity.”). SOF ¶¶ 34, 47; Ex. D, ’115 patent, 8:62-65. The “speed reference”

equation is an equation of motion of a human subject performing the physical

activity being simulated and it “electronically simulates the inertia formally

provided by a large flywheel.” SOF ¶ 49; Ex. D, ’115 patent, 4:30-32. The speed


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reference equation is an equation of motion of the type that describes the

acceleration of a mass under an influence of a force. Namely, the speed reference

equation involves forces—the input torque signal. The speed reference equation

further accounts for accelerations of a mass under an influence of a force:

      When the “speed reference” is gradually increasing, the input (pedal) torque
      is slightly greater than the motor supplied load torque. This is true because
      part of the input torque is required for acceleration (a velocity increase); but,
      because the system inertia and acceleration are so small (no large flywheel),
      the acceleration torque (Ta) is negligible compared to the input torque
      ((Tpedal -Tmotor)=Ta =Jsystem ×acceleration); therefore, even during acceleration
      (when S increases), the measured motor torque can be considered to be equal
      to the pedal input torque.

SOF ¶ 55; Ex. D, ’115 patent, 2:53-64.

      The “speed reference” equation, therefore, calculates a target velocity that

would occur during physical activity, if the user applied the same force. Moreover,

the “speed reference” equation utilizes the pedal speed as input to vary the

resistance force in a manner that simulates changes in force due to changes in

momentum. Accordingly, the ‘115 patent discloses Element 6 of claim 28. Dr.

Lynch agrees that the ’115 patent discloses this limitation.

         h. Element 7: “the control system is configured to utilize the first
            value of the measured variable as an input variable in the
            equation of motion such that the resistance force varies in a
            manner that simulates changes in force due to changes in
            momentum according to the equation of motion”
      The disclosed “speed reference,” an equation of motion, is compared to a

first measured velocity in a manner that simulated changes in force due to changes



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in momentum. The “speed reference” equation in the ’115 patent calculates a

velocity that simulates the speed of a flywheel. SOF ¶¶ 34, 47; Ex. D, ’115 patent,

8:62-65. The “speed reference” equation is an equation of motion of a human

subject performing the physical activity being simulated and it “electronically

simulates the inertia formally provided by a large flywheel.” SOF ¶ 49; Ex. D,

’115 patent, 4:30-32. The ’476 patent teaches that a flywheel is emblematic of

simulating an aspect, momentum, of a physical activity being simulated.

      Both the so-called equation of motion and the speed reference equation

simulate such an actual flywheel as part of simulating momentum of the physical

activity of cycling. The “speed reference” equation, therefore, calculates a target

velocity that would occur during physical activity, if the user applied the same

force. Moreover, the “speed reference” equation utilizes the pedal speed as input

to vary the resistance force in a manner that simulates changes in force due to

changes in momentum. Accordingly, the ’115 patent discloses Element 7 of claim

28. Dr. Lynch agrees that the ’115 patent discloses this limitation.

      Moreover, Dr. Bergeron finds the ’253 publication discloses each and every

limitation of claim 28. Bergeron Decl., ¶¶ 144-145, 155; see also ¶¶ 146-154.

Accordingly, the ’115 patent discloses every limitation of claim 28 and, therefore,

anticipates claim 28 of the ’476 patent.




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      3.      DE ’082 Anticipates Claim 28 of the ’476 Patent
      Dr. Lynch disagrees that DE ’082 discloses a haptic equation incorporating

an equation of motion of a human subject performing the physical activity being

simulated. SOF ¶¶ 115, 118; Ex. G, 3/11/20 Lynch Dep., 208:23-209:2; 220:15-

221:9. But here again, Dr. Lynch’s opinion is based on a limitation not found in

the claim language or the Court’s construction.

           a. Preamble: “An exercise device for simulating a human physical
              activity of the type involving an application of a human input
              force to an object resulting in acceleration of the object in a
              manner that is capable of being described by an equation of
              motion of the type that describes the acceleration of a mass under
              an influence of a force generated by a human in performing the
              activity, the exercise device”
      DE ’082 teaches a device and methods for “the real simulation of the load of

cycling.” SOF ¶ 77; Ex. E, DE ’082, col. 2. DE ’082 teaches calculating “the

internal rotational speed of the flywheel simulated in the computer” and controlling

the resistance supplied by the brake until the actual measured speed equals the “the

internal rotational speed of the flywheel simulated in the computer.” SOF ¶¶ 82,

85, 102; Ex. E, DE ’082, claim 1. DE ’082 discloses using an equation of motion

that simulates a physical activity involving human motion—specifically, an

equation that simulates the physical activity of a flywheel. SOF ¶ 106; Ex. E, DE

’082, col. 3 (“the rotational speed nS of the simulated damped flywheel over time

… is calculated, as a function of the set parameters, in the computer.”); SOF ¶ 86;

Ex. E, DE ’082, col. 3 (describing how the force and speed sensors are monitored


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are part of the continuous calculation of the simulated speed of the flywheel).

Thus, DE ’082 simulates physical activity in a manner that is described by an

equation of motion that describes the acceleration that would result based on the

user’s applied force. Accordingly, the exercise apparatus of DE ’082 meets the

preamble of claim 28. Dr. Lynch agrees that DE ’082 discloses the preamble.

          b. Element 1: “A structural support”
      DE ’082 discloses a base supporting pedal shaft 1 and a brake disk 4. For

example, the hatched area under pedal shaft in Figure 1, illustrates how the base

connects to the ergometer. Moreover, DE ’082 teaches “an assembly for

generating dynamic resistances to motion on an ergometer,” which refers to

assembling the ergometer on a base. SOF ¶ 88; Ex. E, DE ’082, col. 1.

Accordingly, DE ’082 discloses Element 1 of claim 28. Dr. Lynch agrees that DE

’082 discloses this limitation.

          c. Element 2: “A user input member movably connected to the
             structural support for movement relative to the structural
             support to define a measured variable upon application of an
             input force to the input member by a user”
      DE ’082 discloses a movable member, pedal shaft 1, mounted to the base.

Figure 1 shows pedal shaft 1 connected to a brake disk 4, pedal arms 2 and pedals

3. The pedal shaft 1 and brake disk 2 define a velocity and receive an input force

from the user applied to the pedals 3. SOF ¶ 89; Ex. E, DE ’082, col. 2. DE ’082

discloses a rotational speed sensor 7. SOF ¶ 94; Ex. E, DE ’082, Fig. 1 & col. 2.



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The signals from the force and speed sensors are fed to a computer 8. SOF ¶¶ 95,

104; Ex. E, DE ’082, col. 2. Accordingly, DE ’082 discloses Element 2 of claim

28. Dr. Lynch agrees that DE ’082 discloses this limitation.

          d. Element 3: “the user input member defines a variable resistance
             force tending to resist movement due to input force applied by a
             user”
       DE ’082 discloses a variable resistance force, a brake 5 that applies a

braking force F. SOF ¶ 96; Ex. E, DE ’082, cols. 2-3. Accordingly, DE ’082

patent discloses Element 3 of claim 28. Dr. Lynch agrees that DE ’082 discloses

this limitation.

          e. Element 4: “a control system configured to utilize first and second
             values of the measured variable that are both measured while a
             user is applying an input force to the input member”
       DE ’082 discloses a rotational speed sensor 7 that measures rotational speed

of the brake disk. SOF ¶ 94; Ex. E, DE ’082, col. 2-3. DE ’082 discloses that the

speed as measured by speed sensor 7 should be “continuously” monitored and is an

input to a computer 8 that controls the resistance supplied by the brake. SOF ¶

105; Ex. E, DE ’082, col. 3. Because the speed is “continuously” monitored, there

must necessarily be a first and second value of the speed as measured by the speed

sensor. Accordingly, DE ‘082 discloses Element 4 of claim 28. Dr. Lynch agrees

that DE ’082 discloses this limitation.




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          f. Element 5: “the first value is measured before the second value,
             and wherein the control system is configured to determine a
             difference between the first value of the measured variable, and a
             first value of a virtual variable as a control input to control the
             resistance force on the user input member”
      DE ’802 discloses “continuously” comparing the actual speed as measured

by speed sensor 7 to the virtual rotational speed of the simulated flywheel. SOF ¶

108; Ex. E, DE ’082, col. 3; claim 1. DE ’082 further discloses that the speed as

measured by speed sensor 7 should be “continuously” monitored and is an input to

a computer 8 that controls the resistance supplied by the brake. SOF ¶ 105; Ex. E,

DE ’082, col. 3. Accordingly, DE ‘082 discloses Element 5 of claim 28.

          g. Element 6: “the control system is configured to determine the
             virtual variable, at least in part, utilizing an equation of motion of
             the type that describes the acceleration of a mass under an
             influence of a force input by a human for the human physical
             activity being simulated”
      DE ’082 discloses Element 6 (defined by the Court as “a mathematical

representation of the acceleration of a mass under the influence of a force for a

simulated physical activity”). DE ’082 discloses “continuously” comparing the

actual speed as measured by speed sensor 7 to the virtual rotational speed of the

simulated flywheel. SOF ¶ 108; Ex. E, DE ’082, col. 3 & claim 1. DE ’082 uses

an equation to calculate the virtual rotational speed of the simulated flywheel,

which it calls the rotational speed ns of the simulated damped flywheel over time.

This virtual velocity value is based, at least in part, on the user applied force as

measured by a force sensor 6. SOF ¶ 103; Ex. E, DE ’082, col. 3, claim 1, & Fig.


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2. This calculated velocity value corresponds to the rotational speed of the

simulated flywheel, providing an estimate of the velocity of the flywheel that

would occur during the physical activity if the user applied force had been applied

to drive an actual flywheel. SOF ¶ 108; Ex. E, DE ’082, col. 3 & claim 1. DE

’082 controls the braking force F based on the comparison of the actual measured

speed to the virtual rotational speed of the simulated flywheel, so that the actual

measured speed corresponds to the virtual rotational speed of the simulated

flywheel. SOF ¶ 110; Ex. E, DE ’082, col. 3, claim 1. Accordingly, DE ’082

discloses Element 6 of claim 28. Dr. Lynch agrees that DE ’082 discloses this

limitation.

          h. Element 7: “the control system is configured to utilize the first
             value of the measured variable as an input variable in the
             equation of motion such that the resistance force varies in a
             manner that simulates changes in force due to changes in
             momentum according to the equation of motion”
      The ’476 patent teaches that a flywheel is emblematic of simulating an

aspect, momentum, of a physical activity being simulated. Both the so-called

equation of motion and the computations performed by DE ’082 simulate such an

actual flywheel as part of simulating the physical activity of cycling, and in a

manner that simulates changes in force due to changes in momentum. DE ’082

teaches “continuously” calculating the virtual rotational speed of the simulated

flywheel and comparing it to the measured speed. SOF ¶ 111; Ex. E, DE ’082, col.




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3. The brake is varied based on this “continuous” comparison between the virtual

rotational speed of the simulated flywheel and the measured speed. SOF ¶ 112;

Ex. E, DE ’082, col. 3. DE ’082 discloses Element 7 of claim 28. Dr. Lynch

agrees that DE ’082 discloses this limitation.

      Moreover, Dr. Bergeron finds the ’253 publication discloses each and every

limitation of claim 28. Bergeron Decl., ¶¶156-157, 166; see also ¶¶ 158-165.

Accordingly, DE ’082 discloses every limitation of claim 28 and, therefore,

anticipates claim 28 of the ’476 patent.

V.    CONCLUSION
      For all the foregoing reasons, Defendants respectfully request that the Court

enter summary judgment of invalidity in their favor on all claims asserted against

them in this case, that this matter be dismissed in its entirety, and for such other

and further relief as the Court deems just and proper.




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Respectfully submitted this 30th day of April 2020.

                               /s/ Keith J. Grady
                               Keith J. Grady
                               Admitted pro hac vice
                               kgrady@polsinelli.com
                               Graham L. Day
                               Admitted pro hac vice
                               gday@polsinelli.com
                               Polsinelli PC
                               100 S. Fourth St., Suite 1000
                               St. Louis, MO 63102
                               Telephone: 314.889.8000
                               Facsimile: 314.231.1776


                               Attorneys for Defendants

                               Holmes J. Hawkins
                               Georgia Bar No. 338681
                               hhawkins@kslaw.com
                               King & Spalding, LLP
                               1180 Peachtree St. NE
                               Atlanta, GA 30309

                               Attorneys for Defendants Wahoo Fitness,
                               LLC




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           L.R. 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the fonts

and point selections approved by the Court in Local Rule 5.1(C), the Northern

District of Georgia, specifically Times New Roman 14 point.


                                      /s/ Keith J. Grady




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